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                            OFFICE OF THE CLERK
                        UNITED STATES DISTRICT COURT
                           Northern District of California

                                        CIVIL MINUTES


 Date: May 11, 2022                Time: 2 hours 30 mins.    Judge: ALEX G. TSE
 Case No.: 21-cv-03933-SK          Case Name: McClough v. University of California Berkeley



Pro Se Plaintiff: Shannon Marie McClough
Attorney for Defendant: Amber Alyne Eklof

 Deputy Clerk: Stephen Ybarra                     Recorded via Zoom: 12:28 – 12:33 (SEALED)

                                        PROCEEDINGS

Settlement Conference – held via Zoom.


Notes: Case settled. The parties shall have access to the transcript.
